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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:07CR3054
                                     )
           v.                        )
                                     )
FEDERICO BALLI and                   )                   ORDER
DEBORAH V. VASQUEZ,                  )
                                     )
                Defendants.          )
                                     )


     IT IS ORDERED:

     Plaintiff’s motion to continue conference call, filing 28,
is granted and the telephone conference call is continued from
January 11 to January 18, 2008 at 11:30 a.m., Central Standard
Time. Plaintiff’s counsel shall initiate the call.


     DATED this 7th day of January, 2008.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
